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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS, PINE BLUFF DIVISION

 

§
WEST WIND AIR, LLC, d/b/a CHRISAIR§

Plaintiff,
V. CIVIL ACTION NO. 5:16-CV-0274 DPM

THRUSH AIRCRAFT, INC.

Defendant

 

THRUSH AIRCRAFT, INC.

Third-Party Plaintiff
V.
PRATT & WHITNEY CANADA
CORP.;PLANESMART AIRCRAFT
SERVICES, LLC; and THE ESTATE
OF DONALD SCOTT BROWN

Third-Party Defendants.

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PRATT & WHITNEY CANADA CORP.’S
STATEMENT OF UNDISPUTED FACTS

Third-party defendant Pratt & Whitney Canada Corp. submits the following
Statement of Undisputed facts in support of its Motion for Summary Judgment:

1. On August 17, 2017, Defendant/Third-Party Plaintiff Thrush filed its
Third-Party Complaint against Pratt & Whitney and others. (Dkt. 52 - Third-Party

Complaint).

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2. ln the Third-Party Complaint, Thrush brings a claim for contribution
against Pratt & Whitney by adopting and asserting the allegations raised in the
Complaint filed by Plaintiff West Wind Air, LLC d/b/a ChrisAir (“West Wind”) on
August 31, 2016. (Id. at 1111 14-15).

3. The allegations in West Wind’s Complaint arise from a plane crash
that occurred on September 3, 2013. (Dkt. 1 - Complaint).

4. That crash involved a 2012 Ayres Thrush 510-T34 aircraft (“Thrush
Aircraft”) owned by West Wind. (Id. at 1[4).

5. ln its Complaint, West Wind alleges that fault on the part of Thrush
caused the Thrush Aircraft to crash. (See generally Dkt. 1 _ Complaint, 1[1[ 12-19).

6. The specific component of the Thrush Aircraft West Wind complained
of was the plane’S beta Valve. (See, e.g., Dkt. 1 - Complaint, 1[1] 9, 11, 19, 34).

7. In its Complaint, West Wind asserted the following specific causes of
action against Thrush:

o Negligence in the design and manufacture of the Thrush Aircraft and
failure to warn through service letters, service bulletins, or mandatory
service bulletins (Dkt. 1- Complaint, 11 12);

o Strict liability in supplying the Thrush Aircraft in a defective condition
rendering it unreasonably dangerous (Dkt. 1- Complaint, 11 13);

0 Breach of implied warranty of merchantability in that the Thrush
Aircraft was not fit at the time of sale for the ordinary purposes for

which it would be used (Dkt. 1- Complaint, 1[ 13);

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o Failure to provide adequate Warning of dangers related to the use of
the Thrush Aircraft (Dkt. 1- Complaint, 11 14);

¢ Breach of the implied warranty of fitness for a particular purpose in
that the Thrush Aircraft was not fit for the particular purpose for
Which it was intended (Dkt. 1- Complaint, 11 15);

¢ Breach of express Warranties that were a part of the basis for the
bargain during the purchase of the Thrush Aircraft (Dkt. 1- Complaint,
11 16); and

o Failure to instruct with regard to maintenance of the Thrush Aircraft
(Dkt. 1- Complaint, 11 17).

8. West Wind did not assert any causes of action against Pratt &
Whitney. (Dkt. 1 - Complaint).

9. In its Third-Party Complaint, Thrush made no claims against Pratt &
Whitney independent of those claims raised by West Wind in its Complaint, (Dkt.
52 - Third-Party Complaint, 1111 14-15).

10. Pratt & Whitney manufactured the engine installed on the Thrush
Aircraft; it did not manufacture the beta Valve on the Thrush Aircraft. (Exhibit 1 -
Deposition of Robert Duma, 29-30; Exhibit 2 - Deposition of Steve Krugler, 9).

11. The beta Valve, which is part of the propeller governor, was
manufactured by the recently dismissed, Woodward, lnc. (“Woodward”). Id.; (Dkt.

52 - Third-Party Complaint, 11 10).

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12. Throughout this litigation, West Wind has tendered only one
individual as an expert in this matter, Arthur Coffman, (Exhibit 3 - April 9, 2018
Correspondence from Nolan E. Awbrey).

13. On July 9, 2018, Mr. Coffman was deposed. (Exhibit 4 - Deposition of
Arthur Coffman, 1).

14. During his deposition, Mr. Coffman testified that he did not contend
that there was any defect in the design or manufacture of the component parts of
the Thrush Aircraft that was a cause of the crash. (EX. 4, 110, 160).

15. Mr. Coffman went on to testify that the issue in this case was not one
of a defective and unreasonably dangerous product, but instead, related to an
unaddressed maintenance practice (Ex. 4, 165).

16. With regard to Pratt & Whitney, Mr. Coffman testified that Pratt &
Whitney’s only obligation was to provide maintenance information related to the
component that it manufactured, which was the Aircraft’s engine, not the beta
valve. (Ex. 4, 121).

17. According to Mr. Coffman, Pratt & Whitney appropriately provided the
engine-maintenance information required of it, and it had no responsibility to
provide maintenance information related to other components, like Woodward’s
beta valve. (Ex. 4, 184).

18. No witness tendered by Thrush has argued that Pratt & Whitney

failed to satisfy any duty it owed.

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Respectfully submitted,

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ATTORNEYS FOR THIRD-PARTY
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CERTIFICATE OF SERVICE

l hereby certify that on July 30, 2018, I electronically Eled the foregoing with

the Clerk of Court using the CM/ECF system, which shall send notification of such

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